
WELLS, Justice.
We have for review Beverly Enterprises-Florida, Inc. v. Estate of Maggiacomo, 651 So.2d 816 (Fla. 2d DCA 1995), in which the district court addressed the same question we recently answered in Globe Newspaper Co. v. King, 658 So.2d 518 (Fla.1995). We have jurisdiction. Art. V, § 8(b)(3), Fla. Const.
In accordance with our decision in Globe Newspaper, we quash the order of the district court granting certiorari in the instant case and remand to the trial court for further proceedings.
It is so ordered.
GRIMES, C.J., and OVERTON, SHAW, KOGAN, HARDING and ANSTEAD, JJ., concur.
